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Yes.

Did you have your backpack with
you?

Yes.

Did the police search the backpack?
Yes, they did.

And that’s when they found the gun?
Yes.

At some point were you taken to the
police station?

Yes.

At the police station, did the
police give you an opportunity to
make a statement?

Yes.

You were here when your statement
was introduced into evidence, is
that right?

Yes.

Tell us basically, what was the
statement that you made to the
police?

l told them that it had been in

self-defense because he had already

 

 

 

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attacked me twice. Just that and 1
told them that l was fine and they
came and they took my fingerprints
and all.

Did you tell the police basically
the same story that you’re telling
us today?

Yes.

The police treated you pretty well,
didn’t they?

ln some parts, yes,

By that 1 mean you were given your
rights, weren’t you?

Yes.

You understood the rights as they
were given to you?

l had a bit of a problem to
understand them but yes, 1 did.
What you did is that even though
you were read your rights, did you
decide to give them a statement?
Yes.

How long did it take you to give a

statement at the police station?

 

 

 

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About twenty minutes.

We heard parts of it or we saw
parts of it here, is that the same
interview that we’re talking about
now?

Yes.

Is what you said back on April 16th

of 2014 the same thing you told us

today?
Yes.
MR. NAPOLITANO: Thank you
very much. l have nothing further.
THE COURT: Cross?
MR. MCCARTHY: Thank you.

CROSS EXAMINATION OF RAFAEL LEONER-

AGUIRRE:

Response in English

 

Q

(By Mr. McCarthy) Good afternoon,
sir.

Good afternoon,

You testified earlier that you were

at, was it a friend’s house before

 

 

 

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this incident happened?

l went to drop off the keys to my
boss.

Who is your boss?

Jose Vasguez.

Does he also have another name?
Not that l know of.

Did you ever hear him use the name`
Hector?

That’s his step-son.

So you were at Hector’s house?

l went to drop off the keys at
Hector’s house.

Where does Hector live?

50 Cary Street, Avenue, sorry.

How long were you there?
Approximately six to seven minutes.
You met some people you knew, is
that right?

Yes.

Jose Morales?

1 don’t know him that well. I had
known him for about ten days then.

You testified he’s your friend on

 

 

 

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direct, didn’t you?

Well, yes,

And you had only known him ten
days?

Of course.

How do you know Kevin Ayala?

From El Salvador.

You guys grew up together?

No, he’s from the same colony where
1 lived.

Are you guys brothers?

No.

But you knew him from El Salvador?
Yes.i

What about Vicky?

She’s my girlfriend.

Did you know her from El Salvador?
Yes.

How about Kenia Revas?

1 knew her but 1 had spoken with
her very little. l

You didn’t know her from El
Salvador?

Yes.

 

 

 

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You did?

Yes.

Do you go by any nicknames that
your friends call you?

Well, no, like 1 said with Jose
Morales 1 had no idea that they
were calling me Tremendo. 1 just
found out recently that they were
calling me that.

You just learned that during the
trial?

No, 1 heard rumors from a friend.
What about El MeXicano? Have you
ever been called that?

No, 1 don’t know who that is.

Your friend Jose said he was an MS
13, is that right?

1 don’t know, honestly.

You didn’t hear him say that when
you were sitting at that table over
there?

No, 1 heard that from him but as
far him being a gang member 1 don’t

know that.

 

 

 

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Are you familiar with what MS 13
is, aren’t you?

Well, Mara Salvatrucha.

A gang that originates in your home
country?

Well, yeah, it is originally from
E1 Salvador.

Are you familiar with any of the
markings? Do other people know a
person is in MS 13?

THE 1NTERPRETER: 1’m sorry,
can the 1nterpreter have you repeat
it?

Are you familiar with some of the
markings or features that let

somebody know that they are in MS

13?
Well, 1 don’t know, 1 can’t tell
you. 1 don’t know about gangs. My

job has been always to have a job.
What about your tattoos? Do they
mean anything to you?

Yes, especially.

Do any of the tattoos have gang

 

 

 

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meanings?

No.

Now, you testified earlier that
Papelito and somebody else followed
you about a week before this, is
that right?

Yes.

Did you tell the police that that

night?

No.

You also testified that ~ move to
strike that. When you left

Hector’s place, who was outside
with you?

Well, we all came down together.
Me, Kenia, Vicky, Kevin Ayala, and
Christian Armando.

And Jose?

Yes, Jose Morales.

Doesn’t Christian live right around
the other side of the intersection?
He lives on Cary by where the
church is.

So there’s five of you that need a

 

 

 

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ride home?
Yes.
And you walked away because you
didn’t fit in the car, is that
right?
Yes.
And you walked away with Jose,
didn’t you?
Yes.
And you were parked in the-opposite
direction of where you guys were
walking, right?

THE INTERPRETER: 1’m sorry?
He was parked on the opposite
direction of where you guys started
walking, is that right?
Yes.
So how is everybody going to get
home if Jose is walking with you?
Because Jose Morales gave the keys
to Kevin Ayala.
How come Jose is not going? So, in
other words, you’re walking home

because you don’t fit in the five

 

 

 

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person car, correct?

Yes.

And Jose is walking with you?
Yes.

Does he not fit in his own car?

Of course, but he gave the keys to

Kevin and told him to drive.
Did you tell this part of this
story to the police that night?
Not that 1 can remember. Maybe 1
did, 1 don’t remember.
Do you know who Calibrais is?
Well, 1’ve heard of him.
Was he there?
Not that 1 know of.
Thank you.

MR. MCCARTHY: Could 1 just
have a moment, your Honor?

THE COURT: Yes.
Now, you’ve testified that
everything you’ve said today, that
you’re telling the jury, is the
same as what you told the

detectives that night, is that

 

 

 

